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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
                                                               :
UNITED STATES OF AMERICA                                       :
                                                               :
                  v.                                           :     08-CR-1213 (JFK)
                                                               :
JAMAL YOUSEF,                                                  :     (Filed Electronically)
                                                               :
                                    Defendant.                 :
----------------------------------------------------------------x




                        MEMORANDUM OF LAW IN SUPPORT OF THE
                         PRETRIAL MOTIONS OF JAMAL YOUSEF




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                                        INTRODUCTION

       This Memorandum of Law is submitted on behalf of defendant Jamal Yousef, in support

of his pretrial motions seeking the following relief:

       (a)     additional discovery and exculpatory material the government is obligated to

               produce pursuant to Brady v. Maryland, 373 U.S. 83 (1963), and its progeny;

       (b)     pursuant to Rule 7(d) of the Federal Rules of Criminal Procedure, the striking of

               irrelevant and prejudicial surplusage from the Third Superseding Indictment

               regarding historical or other acts by the Fuerzas Armadas Revolucionarias de

               Colombia (hereinafter “FARC”), general information about FARC, and the

               underlying reasons for FARC’s designation as a Foreign Terrorist Organization

               (hereinafter “FTO”);

       (c)     dismissal of the Indictment and/or suppression of evidence – or an evidentiary

               hearing – due to outrageous government conduct in the illegal kidnapping and

               rendition of Mr. Yousef from Honduras to the United States, in violation of the

               Fifth Amendment’s Due Process guarantee, and in contravention of an Extradition

               Treaty between the U.S. and Honduras regarding respect for sovereignty and

               human rights; and

       (d)     suppression of the fruits of the search of the sumasiempre123@yahoo.com email

               account, on the ground that the search warrant was obtained in violation of the

               Fourth Amendment.

       For the reasons set forth below, as well as in all papers and proceedings previously had

herein, it is respectfully requested that the Court grant Mr. Yousef’s motions in their entirety.
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                                          STATEMENT OF FACTS

           In order to avoid repetition, Mr. Yousef respectfully incorporates by reference the

contents of the accompanying Declaration of Melinda Sarafa, Esq. (“Sarafa Decl.”) and the

Exhibits attached thereto, which include, as Exhibit 1, the May 3, 2011 Declaration of Jamal

Yousef (“Yousef Decl.”).

                                                     POINT I

                    THE COURT SHOULD COMPEL THE GOVERNMENT
                    TO PRODUCE TO MR. YOUSEF THE DEMANDED
                    DISCOVERY, AS WELL AS ANY BRADY MATERIAL

           The discovery and Brady material 1 requested by Mr. Yousef encompass certain

evidentiary material that has not yet been provided by the government, but which is nevertheless

relevant and material not only to Mr. Yousef’s defense at trial, but also to his (1) suppression

motion with respect to the contents of the sumasiempre123@yahoo.com email account, set forth

infra in POINT IV; and (2) his motion challenging his rendition to the U.S., set forth infra in

POINT III.

A.         Discovery

           Pursuant to Rule 16 of the Federal Rules of Criminal Procedure, and the Fifth and Sixth

Amendments to the U.S. Constitution, the Court should compel the government to produce the

following discovery:

           (a)      any FBI (or other U.S. agency) reports of all meetings with and interviews of Mr.

                    Yousef in Mexico in or about June and July 2006;

           (b)      communications between and information shared by the governments of the U.S.

                    and Honduras (relevant to Mr. Yousef’s motion challenging his rendition to the


1
    Brady v. Maryland, 373 U.S. 83 (1963), and its progeny.


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      U.S., see infra POINT III) regarding:

      (1)     Mr. Yousef’s arrest in Honduras for passport fraud (both before and after

      his arrest); and

      (2)     Mr. Yousef’s seizure and rendition by U.S. authorities from Honduras to

      the U.S. on or about August 19, 2009;

(c)   the DEA-6 Report prepared by U.S. Drug Enforcement Agency (“DEA”) Special

      Agent Gregory Ball regarding the seizure, rendition, and transport of Mr. Yousef

      from Honduras to the U.S. on or about August 19, 2009 (which report counsel has

      specifically requested in discovery);

(d)   the prior three Indictments in this case (i.e., the initial Indictment, S1, and S2),

      which the government has declined to produce despite a formal request by

      counsel (by letter dated April 27, 2011);

(e)   copies of photographs taken of Mr. Yousef:

      (1)     in Honduras August 18, 2009, on the runway in front of the plane that

      would transport Mr. Yousef to the U.S. (see Yousef Decl. ¶ 11;

      (2)     during immigration processing of Mr. Yousef at Westchester County

      Airport (upon his arrival in the U.S. August 19, 2009) (see id. ¶ 14); and

      (3)     in the DEA offices in New York August 19, 2009, inside a holding cell,

      with DEA Special Agent Federico Alvarez;

(f)   copies of the intercepted telephone calls (and any translations and/or transcripts)

      Mr. Yousef made from the Metropolitan Correctional Center, 150 Park Row, New

      York, New York 10007, in October 2010. See Fed. R. Crim. P. 16(a)(1)(C);

(g)   a copy of the “Interpol Writ” pursuant to which Mr. Yousef was allegedly seized



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               in Honduras, and all communications related to the issuance and execution of that

               Writ (to the extent not previously provided);

       (h)     any agreements, formal or otherwise, memorialized or not, between the U.S. and

               Col. Miguel Ramirez Lanza, or between the U.S. and Honduras with respect to

               Col. Lanza; and

       (i)     any interviews – including notes, reports, memoranda, or any other form of

               memorialization – of persons who provided exculpatory information, including,

               specifically, Hassan Rammal.

B.     Brady Material

       The prosecution is required to provide the accused with all information and material

known to the government which may be favorable to the defendant on issues of guilt or

punishment, without regard to materiality. See Brady v. Maryland, 373 U.S. 83 (1963); United

States v. Bagley, 474 U.S. 667, 678 (1985) (prosecution’s duty under Brady includes the

obligation to disclose contingent inducements to informants which would have been helpful in

cross-examination); Pennsylvania v. Ritchie, 480 U.S. 39 (1987) (evidence of bias or a motive to

lie); Kyles v. Whitley, 514 U.S. 419, 437-38 (1995) (individual prosecutor has responsibility to

learn of any favorable evidence known to others acting on government’s behalf in case); Stickler

v. Greene, 527 U.S. 263, 280-81 (1999) (due process duty of the prosecution under Brady to

disclose any evidence favorable to the defense includes the duty to disclose impeachment

evidence and material known only to the police officer and not immediately known to the

prosecuting attorney).

       Accordingly, it is respectfully submitted that the government should be compelled to

provide any and all Brady material, including discovery of any of the above-requested materials



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that qualifies as Brady material (e.g., the 2006 report, any interviews of persons who provided

exculpatory information, and any agreements involving Col. Lanza). 2 In addition, the

government should be compelled to disclose any other information, from whatever source, that in

any way may exculpate Mr. Yousef with respect to the charges levied against him in the

Indictment.




2
  Of course, if any of the requested information is exculpatory, constituting Brady and/or Giglio material, see Giglio
v. United States, 405 U.S. 150 (1972), it must be produced immediately. See, e.g. United States v. Crozzoli, 698 F.
Supp. 430, 436 (E.D.N.Y. 1988) (holding that all Brady material must be produced upon request, and not at or just
before trial, since the Court “reject[ed] the blanket assertion that Brady imposes no pretrial obligation on . . . the
Government . . . We perceive the due process implications of Brady as obligating the Government to disclose
exculpatory information as soon as the character of such information is recognized”) (quoting United States v.
Goldman, 439 F. Supp. 337 (S.D.N.Y. 1977) (emphasis added)).

         As the Second Circuit concluded in Grant v. Aldredge, 498 F.2d 376, 382 (2d Cir. 1974), Brady material
must be produced sufficiently in advance of trial to permit “full exploration and exploitation by the defense.” Thus,
as the Court in Crozzoli explained,

                   if exculpatory evidence is produced for the first time at trial, the defendant may
                   not have an adequate opportunity to effectively utilize the material, particularly
                   if it points to the existence of other evidence helpful to the defendant.

439 F. Supp. at 436; see also United States v. Pollack, 534 F.2d 964, 973 (D.C. Cir. 1976) (disclosure “must be made
at such time as to allow the defense to use the favorable material effectively in the preparation and presentation of its
case”); United States v. Deutsch, 373 F. Supp. 289, 290 (S.D.N.Y. 1983) (“[i]t should be obvious to anyone involved
with criminal trials that exculpatory information may come too late if it is given only at trial”); United States v.
Gleason, 265 F. Supp. 880, 885 (S.D.N.Y. 1976). But see United States v. Coppa, 267 F.3d 132, 145 (2d Cir. 2001)
(“as long as a defendant possesses Brady evidence in time for its effective use, the government has not deprived the
defendant of due process of law simply because it did not produce the evidence sooner”).

         Nor does the fact that Giglio material may also qualify as Jencks Act, 18 U.S.C. §3500, statements allow the
government to withhold its production until the later Jencks Act deadline. See United States v. McVeigh, 923 F. Supp.
1310, 1315 (D. Colo. 1996) (government’s disclosure duties under Brady neither trumped nor modified by fact that
information is contained within witness statements and/or grand jury testimony).

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                                             POINT II

       THE COURT SHOULD STRIKE IRRELEVANT AND PREJUDICIAL
       SURPLUSAGE FROM THE THIRD SUPERSEDING INDICTMENT

       The Third Superseding Indictment (hereinafter “the Indictment”) includes extraneous and

unduly prejudicial information regarding historical or other acts by FARC, and the underlying

reasons for FARC’s designation as an FTO. While the fact of FARC’s designation as an FTO is

relevant to the charged violation of 21 U.S.C. § 960a, which requires the government to prove

that the defendant engaged in a prohibited drug offense knowing or intending to provide

something of pecuniary value to a person or organization that has engaged in terrorist activity, the

nature of such activity and the underlying reasons for a terrorist designation are not. By detailing

the reasons underlying FARC’s FTO designation, the Indictment improperly seeks to amplify that

designation. Any reference to FARC’s designation that goes beyond the mere fact of its

designation is unnecessary, irrelevant, and unduly prejudicial.

       Thus, this Court must strike language contained in paragraphs 1 to 5 of the Indictment

pursuant to Rule 7(d) of the Federal Rules of Criminal Procedure, and to protect Mr. Yousef’s

right to due process and a fair trial as guaranteed by the Fifth and Sixth Amendments to the U.S.

Constitution.

A.     Applicable Law Regarding Surplusage

       Rule 7(d) of the Federal Rules of Criminal Procedure provides that upon motion of a

defendant, the Court may strike extraneous matter, or “surplusage,” from an Indictment. Fed. R.

Crim. P. Pursuant to Second Circuit case law, “[a] defendant's motion to strike surplusage from an

indictment will be granted so long as the language is not relevant to the offenses and is either


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prejudicial or inflammatory.” United States v. Malachowski, 604 F.Supp.2d 512, 518 (N.D.N.Y.

2009) (granting defendant’s motion to strike surplusage based on irrelevance and the “danger of

unfair prejudice”) (citing United States v. Mulder, 273 F.3d 91, 99 (2d Cir.2001)); see also United

States v. Scarpa, 913 F.2d 993, 1013 (2d Cir.1990).

       In addition, any surplusage that remains in an indictment implicates the defendant’s right

to due process and to a fair trial under the Fifth and Sixth Amendments because, as is well-settled

among the circuit courts, the government, to sustain a conviction, is under no obligation to prove

statements in the indictment that constitute surplusage. See, e.g., United States v. Greene, 497

F.2d 1068, 1086 (7th Cir. 1984) (“The language of the indictment, insofar as it goes beyond

alleging elements of the statute, is mere surplusage. Such surplusage in an indictment need not be

proved.”); United States v. Archer, 455 F.2d 193, 194 (10th Cir. 1972) (“It is not essential that

everything in an indictment be proved.”); Milentz v. United States, 446 F.2d 111, 114 (10th Cir.

1971) (“mere surplusage . . . need not be proved”); Gawne v. United States, 409 F.2d 1399, 1403

(9th Cir. 1969) (“allegation of the indictment was surplusage [because it was not an element of the

offense] and need not have been proved”). Accordingly, to leave such language in an indictment

is inherently unfair and a denial of due process.

       Indeed, in applying the “exacting standard” of Rule 7(d), see Scarpa, 913 F.2d at 1013,

this Court recently identified the very type of language that constitutes surplusage, and therefore

must be deleted from an indictment. See United States v. Kassir, No. S2-04-CR-356 (JFK), 2009

WL 995139 (S.D.N.Y. Apr. 9, 2009).

       In Kassir, the defendant argued that references in each count to Usama Bin Laden as the

leader of al Qaeda were both irrelevant to the charges and prejudicial. Id., at *2. The defendant

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also argued that broadening phrases, such as “others known and unknown,” “among others,” and

“elsewhere,” sprinkled throughout the indictment, impermissibly expanded the charges against

the defendant. Id., at *3.

         In granting in part and denying in part the motion, this Court concluded that Bin Laden’s

leadership of al Qaeda was relevant, not prejudicial, and should not be struck, because “the

government plan[ed] to offer evidence that the Defendant committed the charged conduct with

the intent to support Bin Laden, which is relevant for the inference that Defendant also intended

to support al Qaeda.” Id. at *2 (emphasis added). 3

         Here, in contrast, the historical recitation of FARC’s violent activities will not be offered

in connection with any element of the offense, or to establish Mr. Yousef’s knowledge and

intent. Such evidence would not be admissible unless, as in Kassir, it can be tied to the

defendant specifically (as it was there through a laudatory letter to Mr. Bin Laden the defendant

took with him when he traveled to the U.S. to establish a jihad training camp). Id.

         Thus, the rationale in Kassir illustrates why the litany of FARC violence constitutes

surplusage in the Indictment here, and why the government should not be able to influence the

jury through the “back door” with information it cannot introduce or prove through the “front

door,” i.e., that it can ascribe to Mr. Yousef’s knowledge or intent.

B.       All References to FARC’s Historical or Others Acts Contained in Paragraphs One
         Through Five of the Indictment Are Irrelevant to the Charged Offenses and Must
         Be Struck as Unduly Prejudicial Surplusage, and to Protect Mr. Yousef’s Right to
         Due Process and a Fair Trial Guaranteed by the Fifth and Sixth Amendments

         Paragraphs One through Five of the Indictment allege a laundry list of historical and

other acts allegedly committed by FARC, many of which the Indictment alleges were affected or

were intended to affect, or to be directed at, the U.S., and none of which Mr. Yousef has been

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  In Kassir, this Court did strike as surplusage certain “broadening phrases” in certain charging paragraphs because
“the language could impermissibly expand the specific charges returned by the grand jury.” Id., at *3.


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charged with in this Indictment.

        Information about FARC’s activities must be struck from the Indictment as irrelevant and

prejudicial surplusage, pursuant to Rule 7(d) of the Federal Rules of Criminal Procedure, and

also to preserve Mr. Yousef’s constitutional rights to a fair trial. In addition, as detailed below,

analysis pursuant to Rule 403 of the Federal Rules of Evidence establishes that the language in

question does not possess probative value, and is unduly prejudicial to Mr. Yousef.

        1.      References to FARC’s Activities Must Be Struck from the
                Indictment as Irrelevant and Prejudicial Surplusage

        It is well-settled that surplusage should be struck from an indictment pursuant to Rule

7(d) when such language is both irrelevant and prejudicial. See Mulder, 273 F.3d at 99. Here,

references to FARC’s activities clearly meet both of these prongs. As noted, FARC’s past

activities and acts are not at issue in this trial.

        Thus, the following information about FARC and the specific nature of FARC’s past acts

against American citizens and others, all of which is included in the Indictment, and none of

which is related in any way to Mr. Yousef, is irrelevant and can serve only to unnecessarily

inflame the jury, which, of course will be comprised solely of American citizens:

               1.     . . . while continuing to engage in bombings, massacres,
        kidnappings, and other acts of violence within Colombia . . .

                2.      During at lest the five years prior to the date of the filing of this
        Indictment, the FARC has directed violent acts against United States persons and
        property interests in foreign jurisdictions, including, but not limited to,
        Colombia. In order to protect its financial interests in the cocaine trade, the
        FARC leadership has ordered its members to take counter-measures against the
        Government of Colombia’s cocaine fumigation campaign, including, among
        other actions: attempting to shoot down fumigation aircraft; forcing members
        and supporters to publicly rally against fumigation; and attacking the Colombian
        infrastructure. Having recognized that the United States contributed significantly
        to Colombian fumigation efforts, the FARC leadership has ordered FARC
        members to kidnap and murder United States citizens and to attack United States
        interests in order to dissuade the United States from continuing its efforts to



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       fumigate and disrupt the FARC’s cocaine and cocaine paste manufacturing and
       distribution activities.

               3.     The FARC’s violent acts directed against the United States and
       United States interests have included: (1) the murder of United States nationals;
       (2) the kidnapping of United States nationals; and (3) the bombing of a restaurant
       in Bogota, Columbia, frequented by United States nationals.

               4.     The FARC is a highly structured terrorist organization, styled as a
       military group and comprised of approximately 12,000 to 18,000 armed guerillas
       organized into seven “blocs,” 68 numbered “fronts,” nine named fronts, and four
       urban “militias.”

               5.    To further its terrorist activities and its goals to overthrow the
       democratically elected Government of Colombia, the FARC actively attempts to
       obtain automatic rifles, ammunition, machine guns, explosives and other types of
       weapons from other organizations.

Sarafa Decl., Ex. 16.

       Rule 401 of the Federal Rules of Evidence defines relevant conduct as evidence “having

any tendency to make the existence of any fact that is of consequence to the determination of the

action more probable or less probable than it would be without the evidence.” Fed.R.Evid. 401.

Moreover, in criminal trials, all facts presented to the jury must be “strictly relevant to the

particular offense charged.” Williams v. New York, 337 U.S. 241, 247 (1949).

       Here, the government must prove that the defendant engaged in prohibited drug activity

“knowing or intending to provide, directly or indirectly, anything of pecuniary value to any

person or organization that has engaged or engages in terrorist activity . . . . or terrorism.” 21

U.S.C. § 960a. Thus, the fact of FARC’s FTO designation is relevant, but the reasons for such

designation, and the validity of such designation, are not.

       Case law related to material support of terrorism cases under 18 U.S.C. § 2339B are

instructive on this point. To prove a violation of §2339B, the government must establish that the

defendant “knowingly provide[d] material support or resources to a foreign terrorist




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organization, or attempt[ed] or conspire[d] to do so.” 18 U.S.C. § 2339B. Thus, “[t]he element of

the offense is the designation of [the organization] as an FTO, not the correctness of the

determination, and the Government would be required to prove at trial that [the organization]

was in fact designated as an FTO.” United States v. Sattar, 272 F. Supp. 2d 348, 367 (S.D.N.Y.

2003) (emphasis added).

       Moreover, even though the government must prove Mr. Yousef;s knowledge of FARC’s

terrorist activity, general references to such activity, without any connection to Mr. Yousef, are

entirely irrelevant to the charge.

       In addition, the information regarding FARC is unduly prejudicial under the standard set

forth in Rule 403 of the Federal Rules of Evidence, which provides for the exclusion of even

relevant evidence when its “probative value is substantially outweighed by the danger of unfair

prejudice, confusion of the issues or misleading the jury.” Fed. R. Evid. 403.

       The danger of unfair prejudice is overwhelming in this case, because although Mr.

Yousef has not been charged with the acts committed by FARC set forth in the Indictment, and

the Indictment does not allege that Mr. Yousef had any knowledge of such acts, the inclusion of

information about FARC’s activities in the Indictment provides the government with an

unearned opportunity to suggest such a connection without benefit of any competent evidence.

       Correspondingly, the offending language also presents the jury with an improper basis for

conviction of Mr. Yousef, i.e., the general dangerousness of FARC to the U.S. and its interests.

Thus, the Indictment misleads the jury to ignore the factual issue of whether Mr. Yousef knew of

FARC’s activities, and invites the jury to convict simply because of Mr. Yousef’s alleged

association with FARC. The irrelevant and highly prejudicial nature of the references to FARC’s

activities requires, pursuant to Rule 7(d), that such language be struck in its entirety from the




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Indictment.

         2.     References to FARC’s Activities Must Be Struck from the
                Indictment to Protect Mr. Yousef’s Fifth and Sixth
                Amendment Rights to Due Process and a Fair Trial

         The inclusion in the Indictment of FARC’s acts against the U.S. is not only irrelevant and

inflammatory under Rule 7(d), but also violates Mr. Yousef’s constitutional rights to due process

and a fair trial. Since it is undisputed that the government need not prove FARC’s activities as

alleged in the Indictment to convict Mr. Yousef of violating 21 U.S.C. §960a, as they do not

constitute an element of the crime charged, the government, through its inclusion of this

surplusage, invites the jury to conclude that Mr. Yousef was aware that such activities by FARC

were aimed at the U.S., without having to connect such acts or information to Mr. Yousef’s

knowledge. See, e.g., Greene, 497 F.2d at 1086.

         Whether Mr. Yousef possessed the requisite intent or knowledge with respect to FARC’s

activities cannot be proved simply by including in the Indictment a litany of FARC’s misdeeds

against the U.S. Listing such activities without the predicate allegation and/or proof that they

contributed to Mr. Yousef’s knowledge constitutes a denial of Due Process. Consequently, the

language must be struck to preserve Mr. Yousef’s constitutional protections of Due Process and

a fair trial.

                                            POINT III

                THE COURT SHOULD DISMISS THE INDICTMENT
                AND/OR SUPPRESS EVIDENCE AND/OR CONDUCT
                AN EVIDENTIARY HEARING DUE TO THE OUTRAGEOUS
                GOVERNMENT CONDUCT IN THE ILLEGAL RENDITION
                OF MR. YOUSEF FROM HONDURAS TO THE UNITED STATES

         The U.S. government committed outrageous government conduct by kidnapping and

illegally rendering Mr. Yousef from Honduras to the U.S. in violation of (a) the terms of the




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Extradition Treaty between the U.S. and Honduras; (b) the firm commitment by the U.S.

Attorney’s Office for the Southern District of New York and the U.S., expressed in the approved

application for the Interpol Red Notice, to request Mr. Yousef’s extradition in all but the most

exceptional circumstances; (c) Mr. Yousef’s Fifth Amendment right to Due Process; and

(d) international law. Accordingly, the Court should dismiss the Indictment against Mr. Yousef.

In the alternative, the Court should suppress evidence obtained as a result of Mr. Yousef’s illegal

seizure and rendition, and/or conduct an evidentiary hearing on the issue.

A.     The Circumstances of Mr. Yousef’s Illegal Rendition From Honduras to the U.S.

       Again, in order to avoid repetition, the facts relevant to this point are respectfully

incorporated by reference from Mr. Yousef’s accompanying Declaration at ¶¶ 5-15.

B.     The U.S. Engaged in Outrageous Governmental Conduct When It Illegally
       Rendered Mr. Yousef from Honduras to the U.S. in Violation of U.S. Law, the
       Interpol Red Notice, International Law, and the Terms of the Treaty Between the
       U.S. and Honduras

       Due Process does not permit the U.S. to engage in the abduction and rendition of Mr.

Yousef when the legitimate and established mechanism for extradition, pursuant to treaty and

international law, was available and well-known to the government, and when the government

had expressly agreed in writing to pursue extradition as the avenue for securing the defendant’s

presence. As a result, the government’s misconduct in kidnapping and rendering Mr. Yousef

from Honduras to the U.S. rises to the level of outrageous government conduct, warranting relief.

       1.      Applicable Law Regarding Outrageous Government Conduct

       As the Second Circuit has recognized, “[i]t has been suggested by both the Supreme

Court and this Court that Government involvement may become so outrageous in a prosecution

that the due process clause of the Constitution would forbid conviction.” United States v.

Alexandro, 675 F.2d 34, 39 (2nd Cir. 1982).



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        Indeed, in United States v. Russell, 411 U.S. 423 (1973), the Supreme Court

acknowledged that there could exist

                   a situation in which the conduct of law enforcement agents is so
                   outrageous that due process principles would absolutely bar the
                   government from invoking judicial processes to obtain a
                   conviction.

411 U.S. at 431-32, citing [cf.] Rochin v. California, 342 U.S. 165 (152).

        Likewise, in United States v. Schmidt, 105 F.3d 82 (2d Cir. 1997), the Second Circuit,

referring back to Russell, explained that

                   [t]he concept of fairness embodied in the Fifth Amendment due
                   process guarantee is violated by government action that is so
                   fundamentally unfair or shocking to our traditional sense of justice,
                   see Kinsella v. United States ex rel. Singleton, 361 U.S. 234, 246
                   (1960), or conduct that is ‘so outrageous’ that common notions of
                   fairness and decency would be offended were judicial processes
                   used to invoke a conviction against the accused.” United States v.
                   Russell, 411 U.S. 423, 431-432 (1973).

105 F.3d at 91.

        Also, while many of the “outrageous government conduct” cases involve government

involvement in the commission of the charged offense, the courts have made it unmistakably

clear that the doctrine extends well beyond entrapment cases. Indeed, the Second Circuit has

repeatedly held that “predisposition,” and/or a defendant’s conduct, is not a factor in evaluating

the propriety of the government’s behavior.

        For example, in United States v. Chin, 934 F.2d 393 (2d Cir. 1991), the Second Circuit

instructed that:

                   whether investigative conduct violates a defendant’s right to due
                   process cannot depend on the degree to which the government
                   action was responsible for inducing the defendant to break the law.
                   Rather, the existence of a due process violation must turn on
                   whether the government conduct, standing alone, is so offensive
                   that it “shocks the conscience,” regardless of the extent to which it



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                  led the defendant to commit his crime.

943 F.2d at 398 (quoting Rochin v. California, 342 U.S. 165, 172 (1952)); see also United States

v. Cuervelo, 949 F.2d 559, 565 (2d Cir. 1991) (“[t]he outrageousness of the government’s

conduct must be viewed ‘standing alone’ and without regard to the defendant’s criminal

disposition”) (citing Chin, 934 F.2d at 398). 4

         Similarly, in United States v. Rahman, 189 F.3d 88 (2d Cir. 1999), the Second Circuit

reiterated that

                  [t]he Supreme Court has suggested that in an extreme case,
                  Government involvement in criminal activity might be “so
                  outrageous that due process principles would absolutely bar the
                  Government from invoking judicial processes to obtain a
                  conviction.” Such an argument might in principle prevail even
                  where . . . the defendants were not entrapped by the Government.

189 F.3d at 131 (citing United States v. Russell, 411 U.S. at 431-432); see also United States v.

Archer, 486 F.2d 670, 676-77 n. 6 (2d Cir. 1973) (“Court made it clear [in Russell] that the

entrapment defense would not be the only means for a defendant to contest the propriety of

police practices utilized to apprehend him”).

         In addition, the concept of “outrageous government conduct” is not limited to physical

misconduct. As the Second Circuit pointed out in Cuervelo, “there is no meaningful distinction

between physical and psychological harm inflicted upon the defendant.” 949 F.2d at 565 (citing

Chin, 934 F.2d at 399 n. 4 (“there may, of course be cases where psychological torture rises to

the level of outrageousness that would constitute a violation of the Due Process Clause)); see

also, United States v. Kelley, 707 F.2d 1460, 1477 (D.C. Cir. 1983) (noting that “psychological

4
  Nor have any of the courts balanced the government’s conduct against the seriousness of the alleged offense. As
Justice Frankfurter remarked in Joint Anti-Facist Refugee Comm. v. McGrath, 341 U.S. 123, 161-63 (1951)
(Frankfurter, J., concurring) the Due Process guarantee “is not a fair-weather or timid assurance[,]” and “[i]t must be
respected in periods of calm and in times of trouble. . .”).




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coercion” as well as physical coercion, or the infliction of pain, may constitute outrageous

conduct under the Due Process Clause).

        2.      The Nature of the Government’s Outrageous Conduct in this Case

        Here, the government’s outrageous conduct has manifested itself case in several forms.

In particular, it has included: (1) violation of the terms of the Extradition Treaty between the

U.S. and Honduras; (2) disregard for its firm and express commitment, as set forth in the

approved application for the Interpol Red Notice, to request Mr. Yousef’s extradition in all but

the most exceptional circumstances; (3) violation of International Law; and (4) bringing Mr.

Yousef to the U.S. by forcible abduction.

                a.      Violation of the Extradition Treaty Between the U.S. and Honduras

        The U.S. government’s abduction and rendition of Mr. Yousef from Honduras to the U.S.

constituted outrageous government conduct because it represented a deliberate and calculated

violation of the terms of the extradition treaty between the U.S. and Honduras.

        The standing Extradition Treaty between the U.S. and Honduras (37 Stat. 1616; Treaty

Series 569) (see Sarafa Decl., Ex. ___) states that “the U.S. and the Government of Honduras

shall . . . deliver up to justice any person who may be charged with or may have been convicted

of any of the crimes specified in Article II of this Convention” so long as: (1) the offense was

“committed within the jurisdiction of one of the Contracting Parties while said person was

actually within such jurisdiction when the crime was committed;” (2) the person “shall . . . be

found within the territories of the other;” and (3) “evidence of criminality as, according to the

laws of the place where the . . . person so charged shall be found, would justify his apprehension

and . . . trial if the crime . . . had been there committed.” Id.

        The “Supplementary Extradition Convention Between the United States of America and




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the Republic of Honduras” (45 Stat. 2489; Treaty Series 761, entered into force June 5, 1928,

and proclaimed by the President of the U.S. June 7, 1928), specifies that “Crimes against the

laws for the suppression of the traffic in narcotics products” are “punishable acts” pursuant to

Article II for which extradition is appropriate.

        Thus, the charges against Mr. Yousef and the specific circumstances of his case meet all

the criteria for extradition pursuant to the treaty between the U.S. and Honduras: (1) the offense

against Mr. Yousef, which requires the trafficking in narcotics products, is within the list of

extraditable offenses; (2) the offense was committed by Mr. Yousef within the jurisdiction of

Honduras, while Mr. Yousef was himself in Honduras (indeed, he was incarcerated until the day

of his kidnapping and rendition); (3) Mr. Yousef was found within Honduras, a signatory to the

treaty; and (4) Mr. Yousef’s alleged crimes would have justified his apprehension and trial in

Honduras.

        Accordingly, Mr. Yousef should have been extradited through proper channels, and it

was outrageous governmental conduct for the U.S. government to instead kidnap Mr. Yousef

illegally.

                 b.    The U.S.’s Disregard for Its Firm Commitment to Request
                       Mr. Yousef’s Extradition Pursuant to the Interpol Red Notice

        In addition, the U.S. government’s outrageous conduct was aggravated by its brazen

abrogation of its express commitment, in writing, to request Mr. Yousef’s extradition absent

“exceptional circumstances.”

        That commitment to request Mr. Yousef’s extradition was reflected both in the

Prosecutor’s Agreement to Extradite, signed and dated July 20, 2009, see Sarafa Decl., Ex. 13,

and the Interpol Red Notice application approval letter, dated July 21, 2009 (hereinafter “the

Interpol Red Notice”), see Sarafa Decl., Ex. 14. As the Interpol Red Notice declares, “the Red



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Notice is a firm commitment by [the U.S. Attorney’s Office for S.D.N.Y.], and by the United

States to request this fugitive’s extradition in all but the most exceptional circumstances.” Id.

        That representation was accompanied by a citation to a section in the U.S. Attorney’s

Manual, which provides that,

                 [a]n Interpol Red Notice is the closest instrument to an
                 international arrest warrant in use today. Please be aware that if a
                 Red Notice is issued, the prosecutor's office is obligated to do
                 whatever work is required to produce the necessary extradition
                 documents within the time limits prescribed by the controlling
                 extradition treaty whenever and wherever the fugitive is arrested.

United States Attorney’s Manual, at §9-15.635.

        In addition, the Interpol Red Notice emphasized that

                 EXTRADITION WILL BE REQUESTED FROM ANY
                 COUNTRY WITH WHICH THE REQUESTING COUNTRY IS
                 LINKED BY A BILATERAL EXTRADITION TREATY, ANY
                 EXTRADITION CONVENTION OR BY ANY OTHER
                 CONVENTION OR TREATY CONTAINING PROVISIONS
                 EXTRADITION.

Interpol Red Notice, Sarafa Decl., Ex. 14 at Bates 17 (uppercase in original).

        Here, a valid and operable extradition treaty between the U.S. and Honduras certainly

existed. Nor were there any exceptional circumstances present (or cited), much less those

sufficient to justify abrogating the U.S’s firm commitment to extradite Mr. Yousef pursuant to

the terms of the treaty and the promise(s) in the Interpol Red Notice and Agreement to Extradite.

Thus, by so profoundly and without cause reneging on its assurance that it pursue extradition, the

U.S.’s conduct was outrageous by any standard. 5


5
  It should be noted that the government also engaged in outrageous conduct in the procurement of the Interpol Red
Notice. That notice, based on information provided by the U.S. government, states that Mr. Yousef, in July 2009,
was “currently incarcerated in Tamara Prison in Tegucigalpa, Honduras, and serving a sentence for a weapons
offense.” Bates 15. In fact, Mr. Yousef’s sentence on the weapons offense was commuted in November 2007. In
addition, the Interpol Red Notice states that Mr. Yousef “is the leader of a weapons and narcotics trafficking
organization responsible for the importation of weapons and explosives into Central America.” Id., at 15-16.
However, there is not any evidence that such an “organization” existed, much less that Mr. Yousef was its “leader,”


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                 c.       Violation of International Law

        Moreover, the U.S’s abduction and rendition of Mr. Yousef unquestionably violated

international law. The issue whether an international kidnapping violates international law (by

violating the U.N. Charter) was definitively settled by the United Nations (hereinafter “U.N.”)

Security Counsel debates following the 1960 illegal kidnapping of Adolf Eichmann from

Argentina by Israeli “volunteer groups.” See United States v. Toscanino, 500 F.2d 267, 277 (2d

Cir. 1974).

        In the Eichmann case, “in response to a formal complaint filed by the U.N. representative

from Argentina pursuant to article 35 of the U.N. Charter the Security Counsel . . . adopted a

resolution condemning the kidnapping and requesting ‘the Government of Israel to make

appropriate reparation in accordance with the Charter of the United Nations and rules of

international law[.]’” Id. (quoting U.N. Doc. S/4349 (June 23, 1960)) (additional citations

omitted).

        The effect of this resolution, as explained by the Second Circuit in Toscanino, was

“merely recogni[tion] of a long standing principle of international law that abductions by one

state of persons located within the territory of another violate the territorial sovereignty of the

second state and are redressable usually by the return of the person kidnapped.” 500 F.2d at 277

(additional citations omitted).

        d.       Bringing Mr. Yousef to the U.S. by Forcible Abduction

        The forcible abduction of Mr. Yousef by the U.S. government may also constitute

outrageous governmental conduct and violate due process under the principles of U.S. law

established in Toscanino. Id., at 275, 281 (requiring an evidentiary hearing with respect to

defendant’s allegations of forcible abduction, if founded, on the basis that such conduct “shocks

and/or that it imported weapons and/or explosives into Central America.


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the conscience” and requires that that the defendant be returned “to his status quo ante”). 6

        In Toscanino, the Second Circuit found that “the term [due process] has been extended to

bar the government from realizing directly the fruits of its own deliberate and unnecessary

lawlessness in bringing the accused to trial.” Id. at 272 (citing Russell, 411 U.S. at 430-31)

(additional citations omitted); see also id. at 273 (citing Rochin v. California, 342 U.S. 165

(1952)).

        In so holding, the Court in Toscanino determined that the “so-called ‘Ker-Frisbie’ rule” –

based on two Supreme Court cases, Ker v. Illinois, 119 U.S. 436 (1886) and Frisbie v. Collins,

342 U.S. 519 (1952), which limited due process to the guarantee of a constitutionally fair trial

and held that “the government’s power to prosecute a defendant is not impaired by the illegality

of the method by which it acquires hold over him” – had eroded over time. Toscanino, 500 F.2d

at 271-72.

        In circumstances such as Toscanino – just as in Mr. Yousef’s situation herein – “where a

defendant had been brought into the district court’s jurisdiction by forcible abduction in violation

of a treaty,” the Second Circuit held that Ker did not apply at all. Id., at 278, citing Ford v.

United States, 273 U.S. 593, 605-606 (1927).

        While Second Circuit and Supreme Court case law subsequent to Toscanino continue to

uphold the decisions in Ker and Frisbie – despite Toscanino’s denunciation of these cases –

recent case law nonetheless clarifies that “the Second Circuit has never explicitly overruled

Toscanino” and, under the right circumstances, Toscanino may provide relief for a defendant –

such as Mr. Yousef – who has been brought illegally into the jurisdiction of U.S. district court by

6
   Counsel recognize that this aspect of Mr. Yousef’s challenge to his seizure and rendition may be undermined by
the recent decisions in United States v. Ghailani, 751 F.Supp 2d 502 (S.D.N.Y. 2010), and In Re Terrorist Bombings
of U.S. Embassies in East Africa, 552 F.3d 157 (2d Cir. 2008). However, because neither the Second Circuit nor the
Supreme Court have expressly overruled Toscanino, the issue is presented to, at a minimum, preserve the objection
to Mr. Yousef’s forcible abduction.


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forcible abduction. See United States v. Umeh, ___ F.Supp.2d ___, 2011 WL 9397, at *3

(January 3, 2011) (“[t]o be sure, [United States ex rel.] Lujan [v. Gengler, 510 F.2d 62 (2d Cir.

1975)] might be read to implicitly support [the defendant’s contention] that Toscanino still

applies when the abduction is accompanied by torture or the like”).

C.      Dismissal of the Indictment Against Mr. Yousef is the Proper Remedy
        for the U.S. Government’s Outrageous Conduct in Illegally Kidnapping
        and Rendering Mr. Yousef

        In Bell v. Hood, 327 U.S. 678 (1946), the Court directed that “where federally protected

rights have been invaded, it has been the rule from the beginning that courts will be alert to

adjust their remedies so as to grant the necessary relief.” 7 Id. at 684 (footnote omitted). In light

of the egregiousness of the government’s conduct, it is respectfully submitted that the Indictment

in this case should be dismissed. Such dismissal is authorized and appropriate under pursuant

either to the Fifth Amendment’s Due Process guarantee, and/or this Court’s supervisory powers.

See United States v. Mosley, 965 F.2d at 909 n. 2; United States v. Maturo, 982 F.2d 57, 60 (2d

Cir. 1992); United States v. Archer, 486 F.2d at 678.

        Indeed, mere suppression of illegally seized evidence does not adequately address the

impact of the government’s outrageous conduct. Nor does it fully vindicate Mr. Yousef’s

constitutional rights the government has violated in deliberate and calculated fashion.

        In United States v. Marshank, 777 F. Supp. 1507 (N.D. Cal. 1991), the district court

dismissed the indictment, recognizing that dismissal was required “where continuing prejudice

from the constitutional violation cannot be remedied by suppression of the evidence.” Id. at

1521-22 (citing United States v. Morrison, 449 U.S. 361, 365-66 n. 2 (1981), and United States

v. Rogers, 751 F.2d 1074, 1078 (9th Cir. 1985)); see also Toscanino, 500 F.2d at 275

7
  The Court’s cited authority for that proposition dated back to Marbury v. Madison, 1 Cranch (US) 137, 162
(1803). 327 U.S. at 684 n. 6.



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(government conduct that “shocks the conscience” would “as a matter of fundamental fairness”

require returning the defendant to his position status quo ante, as court “must be guided by the

underlying principle that the government should be denied the right to exploit its own illegal

conduct”) (citing Wong Sun v. United States, 371 U.S. 471, 488 (1963)).

        Indeed, here the jurisdictional foundation of the prosecution against Mr. Yousef is

vitiated by the government’s outrageous conduct, as its very ability to hale Mr. Yousef into a

U.S. court was dependent on the illegal seizure and rendition accomplished in violation of the

extradition treaty, the explicit avowal(s) in the Interpol Red Notice and Agreement to Extradite,

international law, and Mr. Yousef’s Fifth Amendment right to Due Process. 8

        Recently, in United States v. Ghailani, 743 F. Supp.2d 261 (S.D.N.Y. 2010), the district

court precluded a government witness’s testimony because that witness’s identity, and the

government’s access to him, were procured by impermissible government conduct. Id. at 287-

88. As the Court in Ghailani explained, “ [i]f the government is going to coerce a [defendant] to

provide information to our intelligence agencies, it may not use that evidence – or fruits of that

evidence that are tied as closely related to the coerced statements as [the witness’s] testimony

would be here – to prosecute the [defendant] for a criminal offense.” Id. at 288.

        Thus, while in Hampton v. United States, 425 U.S. 484 (1976), the Supreme Court noted

that “[t]he limitations of the Due Process Clause of the Fifth Amendment come into play only

when the Government activity in question violates some protected right of the defendant[,]” id. at

490 (emphasis in original), here it is in fact the defendant – Mr. Yousef – who has been

victimized directly by the outrageous government conduct.

        Indeed, the fruits of the “outrageous government conduct” include the government’s

8
  In Toscanino, the Court noted that “when an accused is kidnapped and forcibly brought within the jurisdiction, the
court’s acquisition of power over his person represents the fruits of the government’s exploitation of its illegal
conduct.” 500 F.2d at 275.


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capacity to try Mr. Youself at all. As the Supreme Court instructed in Terry v. Ohio, 392 U.S. 1

(1968):

                 Courts which sit under our Constitution cannot and will not be
                 made party to lawless invasions of the constitutional rights of
                 citizens by permitting unhindered governmental use of the
                 fruits of such invasions.

392 U.S. at 13.

          Here, it is respectfully submitted that due to the government’s outrageous conduct, the

only sufficient and appropriate relief for Mr. Yousef is dismissal of the Indictment against him.

D.        In the Alternative, Any and All Fruits of the Government’s
          Seizure and Rendition of Mr. Yousef Should Be Suppressed

          Assuming arguendo that the Indictment is not dismissed, all fruits – evidentiary and

otherwise – of the government’s illegal seizure and rendition of Mr. Yousef should be

suppressed. Those fruits include Mr. Yousef’s statements en route to the U.S., any property

seized from him, or any other information or evidence obtained as a result of the government’s

outrageous conduct.

          In Marshank, the District Court pointed out that the “fruit of the poisonous tree” doctrine

applies “to evidence obtained in violation of the Sixth Amendment right to counsel as well as the

Fifth Amendment right to due process.” 777 F. Supp. at 1519 n. 11 (citations omitted). The

same principle applies here, and the sanction of suppression should be applied.

E.        The Court Should Conduct an Evidentiary Hearing on the Issue

          In the alternative, if the Indictment is not dismissed and/or evidence suppressed outright,

the Court should conduct an evidentiary hearing, as the Due Process guarantee, augmented by

the mandate set forth in Bell v. Hood, is sufficiently flexible to provide a remedy for Mr. Yousef.

Moreover, as the Second Circuit explained in Cuervelo, “[c]learly, [ ] a review [of a claim of




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“outrageous government conduct”] is facilitated when a hearing on the issues presented has been

held by the district court and a record has been constituted.” 949 F.2d at 567 (citations omitted);

see also United States v. Mosley, 965 F.2d 906, 910 (10th Cir. 1992); United States v. Cuervelo,

949 F.2d 559 (2nd Cir. 1991); United States v. Chin, 934 F.2d 393 (2nd Cir. 1991); Toscanino,

500 F.2d at 281 (remanding for evidentiary hearing).

        As the Second Circuit explained,

                 [a] hearing allows for a searching inquiry into the particulars . . .
                 employed by the government, as the court undertakes to sort
                 through the various conflicting claims, and permits factual
                 determinations to be made by the district judge.

Id.

        The Court added that “[a] hearing also provides the district judge with an opportunity to

observe the demeanor and assess the credibility of various witnesses.” Id. Ultimately, the

Second Circuit advised, “[m]ost often, conducting a hearing is the preferred course of action in

cases where disputed factual issues exist.” Id. 9 Since determining “[w]hether outrageous

government conduct exists turns on the totality of the circumstances[,]” United States v.

Marshank, 777 F. Supp., at 1523 (quoting United States v. Tobias, 662 F.2d 381, 387 (5th Cir.

1981)), a hearing is necessary to decide the issue. See also Mosley, 965 F.2d at 910.

        Here, the government violated Mr. Yousef’s Fifth Amendment rights in the course of its

pervasive misconduct, and reached a “demonstrable level of outrageousness.” Hampton, 425

U.S. at 495 n. 7; see also Cuervelo, 949 F.2d at 565. Thus, at the very least the Court should

conduct an evidentiary hearing on the issue and determine an appropriate remedy for the

government’s outrageous conduct in its illegal seizure and rendition of Mr. Yousef from

Honduras to the U.S.

9
 In Cuervelo, the Second Circuit also determined that “[a] motion to dismiss an indictment alleging outrageous
governmental conduct is a question of law directed to the trial judge . . .” 949 F.2d at 567.


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                                                  POINT IV

                 EVIDENCE OBTAINED PURSUANT TO THE SEARCH OF THE
                 SUMASIEMPRE123@YAHOO.COM EMAIL ACCOUNT SHOULD
                 BE SUPPRESSED UNDER THE FOURTH AMENDMENT

        On January 29, 2009, the government applied for, and obtained, a search warrant for the

contents and records of the Yahool! electronic mail account sumasiempre123@yahoo.com (the

“Target Account”). Sarafa Decl., Ex. 8. The affidavit in support of the search warrant, however,

omitted information material to the probable cause determination. First, the affidavit did not

reveal that the supposed photographs of the weapons cache purportedly for sale appear on their

face to be altered images. Second, the affidavit did not reveal that the government had

information that Mr. Yousef had been involved in a weapons scam in 2006. Considered in

conjunction with the fact that the individual in the photos told agents that the weapons sale at

issue in this case was a scam – a fact that the affiant stated, but claimed agents rejected – the

omitted information was clearly critical to the probable cause determination. The information,

moreover, was known or should have been known to affiant at the time he prepared the affidavit.

        Because the warrant was obtained in violation of Mr. Yousef’s Fourth Amendment rights,

all the fruits of the search should be suppressed. At a minimum, an evidentiary hearing should be

held to determine whether the affiant made knowing or reckless material omissions from the

affidavit. 10

        A.       Applicable Principles of Law

        Governmental access to electronic communications is governed by the Stored

Communications Act (“SCA”), 18 U.S.C. §§ 2701-2712. Pursuant to the SCA, governmental

10
  The government obtained three separate orders in connection with the sumasiempre123@yahoo.com email
account. As stated in the Notice of Motion, this motion seeks to suppress only evidence obtained pursuant to the
January 29, 2009 search warrant, as the government has represented to defense counsel that it does not intend to
introduce evidence obtained pursuant to other orders. Should the government’s position change, counsel respectfully
seeks leave to file additional motions.


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access to the contents of electronic communications, without regard to the length of time they

have been in storage and without required notice to the subscriber or customer, can be obtained

only upon issuance of a warrant in compliance with the Federal Rules of Criminal Procedure. 18

U.S.C. § 2703. The Federal Rules of Criminal Procedure, in turn, consistent with the Fourth

Amendment of the United States Constitution, require a showing of probable cause before a

warrant may issue. Fed. R. Crim. Pro. 41(d); U.S. Const. amend. IV.

       The January 29, 2009 application for a search warrant in this case sought unrestricted

access to all stored electronic mail and other stored content information, as well as all

transactional information and business records related to the sumasiempre123@yahoo.com email

account, without notice to the account subscriber. See Sarafa Decl., Ex. 8. Accordingly, the

affidavit in support of the requested search warrant had to set forth sufficient information from

which a neutral and detached magistrate judge could, based upon the totality of the

circumstances, make an informed probable cause determination. Illinois v. Gates, 462 U.S. 213,

238-39 (1983).

       A search warrant affidavit must provide the magistrate judge with a “substantial basis”

for determining the existence of probable cause. Id. at 239. Where the officer requesting the

warrant relies on a confidential informant, the “informant’s ‘veracity,’ ‘reliability’ and ‘basis of

knowledge’ are all highly relevant in determining the value of his report.” Id. at 230. In addition,

“corroboration of details of an informant’s tip by independent police work” is of considerable

value in analyzing the totality of the circumstances for a probable cause determination. Id. at

241-42. Accordingly, reliance on hearsay in an affidavit is not per se insufficient “so long as a

substantial basis for crediting the hearsay is presented.” Jones v. United States, 362 U.S. 257,

269 (1960).




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       A magistrate’s determination of probable cause is generally accorded “great deference,”

Spinelli v. United States, 393 U.S. 410, 419 (1969), but it is by no means immune from scrutiny.

United States v. Leon, 468 U.S. 897, 914 (1984). Most notably, “the deference accorded to a

magistrate’s finding of probable cause does not preclude inquiry into the knowing or reckless

falsity of the affidavit on which that determination was based.” Id. Where an affidavit contains

inaccuracies, “the issuing judge’s probable cause determination is not due any deference because

he did not have an opportunity to assess the affidavit without the inaccuracies.” United States v.

Canfield, 212 F.3d 713 (2d Cir. 2000) (emphasis added).

       It is well-established that a defendant may challenge the veracity of a sworn statement

used by law enforcement authorities to obtain a search warrant. Franks v. Delaware, 438 U.S.

154 (1978). A defendant is entitled to a hearing when he makes a “substantial preliminary

showing that a false statement knowingly and intentionally, or with reckless disregard for the

truth, was included by the affiant in the warrant affidavit, and if the allegedly false statement is

necessary to the finding of probable cause.” Franks, 438 U.S. at 155-56. Intentional or reckless

omissions of material information, like false statements, may serve as the basis for a Franks

challenge. Rivera v. United States, 928 F.2d 592, 604 (2nd Cir. 1991); United States v. Campino,

890 F.2d 588, 592 (2d Cir. 1989). Recklessness may be inferred where the omitted information

was “‘clearly critical’” to the probable cause determination. Id. (citing DeLoach v. Bevers, 922

F.2d 618, 622 (10th Cir. 1990); Hale v. Fish, 899 .2d 390, 400 (5th Cir. 1990); United States v.

Reivich, 793 F.2d 957, 961 (8th Cir. 1986)).

       To determine whether the false information or omissions were necessary to the issuing

judge’s determination of probable cause, the court should correct the affidavit by disregarding

the erroneous information and accounting for the material omissions, then conduct a de novo




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review to determine whether the corrected affidavit supports probable cause. Canfield, 212 F.3d

at 718.

          Where a magistrate judge was misled by information in an affidavit that the affiant knew

was false or would have known was false except for his reckless disregard for the truth,

suppression of the fruits of the search is the appropriate remedy. Leon, 468 U.S. at 923.

Omissions of material information from an affidavit are subject to the same inquiry. United

States v. Ferguson, 758 F.2d 843, 848 (2d Cir. 1985). To suppress evidence obtained pursuant to

an affidavit containing erroneous information or material omissions, the defendant must show

that: “(1) the claimed inaccuracies or omissions are the result of the affiant’s deliberate falsehood

or reckless disregard for the truth; and (2) the alleged falsehoods or omissions were necessary to

the [issuing] judge’s probable cause finding.” United States v. Salameh, 152 F.3d 88, 113 (2d

Cir. 1998); see also Canfield, 212 F.3d at 717-18.

          B.     All Fruits of the Search of the Target Account Should be Suppressed
                 Because Material Information was Deliberately or Recklessly Omitted
                 from the Search Warrant Affidavit

          The search warrant affidavit in this case was prepared by a Special Agent of the DEA

(“Affiant”), who states that he based it upon conversations with “other law enforcement officers

involved in the investigation” and the Affiant’s “review of documentary and other evidence.” See

Sarafa Decl., Ex. 8. It relies heavily upon information supplied by a confidential source, CS-2,

but does not indicate that the Affiant ever spoke directly with CS-2 or personally worked with

CS-2.

          The affidavit sets forth hearsay information about weapons negotiations that CS-2

supposedly was engaged in with Mr. Yousef (referred to as “Ghantou” in the affidavit) and two

others. According to this information, another confidential source, CS-1, introduced CS-2 to the




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group as a potential buyer of weapons who intended to supply them to FARC. The affidavit

states that negotiations took place during September 2008, and that the transaction was

contingent upon the production of photographic evidence of the weapons cache to CS-2. It goes

on to state that CS-1 sent CS-2 a series of photos in October 2008 depicting various weapons and

explosives, and in which an Arab male posed in front of the weapons with a recent Belize

newspaper. The Arab male, according to the affidavit, attended a subsequent meeting with CS-1

and CS-2, who identified him as the individual in the photos.

       The Affiant does not indicate that any of this information was independently

corroborated. Both CS-1 and CS-2 are described as paid informants who have provided

information “which has proven to be reliable in the past,” but no details of their past work is

included.

       The affidavit goes on to state that, in December 2008, the Arab male in the photos

requested a meeting with agents from the DEA’s Belize Country Office. Agents at the meeting

verified that this individual was indeed the man in the photos. This man, who voluntarily

approached the DEA, stated that the weapons negotiations in which he participated were a

“scam” to steal money from unsuspecting customers. He provided the

sumasiempre123@yahoo.com email account information, and stated that he used this account in

furtherance of the scam, at times to disseminate pictures of himself posing with weapons.

       The affidavit indicates, however, that “agents believe, based on the investigation to date

and their training and experience,” that this was “not a scam but rather sincere engagement in

weapons trafficking to, among others, the FARC.” The affidavit does not provide any further

information to explain the agents’ rejection of the man’s statement that this was a scam.

        Two critical pieces of information were omitted from this affidavit. First, the affidavit




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does not reveal that the weapons photos it references are, on their face, visibly altered images.

The man in the photos said himself that the entire undertaking was a scam. 11 The Affiant claims

to have conferred with other law enforcement agents and reviewed documentary and other

evidence. Surely the Affiant had access to the photos, or should have inquired into the photos

upon learning that the man said the negotiations were a scam. This would have been especially

important in light of the fact that agents chose to reject the man’s statement about what was

really going on.

         Second, the affidavit does not disclose that the U.S. government had information that Mr.

Yousef – the purported leader of the group, according to the affidavit – had previously engaged

in a scam weapons transaction. As set forth in the accompanying Declaration, U.S. government

agents had information from 2006 about Mr. Yousef’s fraudulent weapons transaction with El

Padrino. See Sarafa Decl. at ¶¶ 5-17. (Notes and reports related to such information are requested

in Point I.) The Affiant either had knowledge of such information, or should have learned of it

during the course of his investigation.

         An affiant may not suppress facts that would cast doubt upon the existence of probable

cause. Rivera, 928 F.2d 604-05. It is clear in this case, where the affidavit sets forth no

independent corroboration of information from confidential sources and contains affirmative

information casting doubt upon the validity of the purported weapons negotiations, that the

omitted facts were material to the probable cause determination. At a minimum, a hearing is

required in this case to examine the veracity of the sworn statement upon which the magistrate

judge relied in finding probable cause.

         Because the affidavit either intentionally or recklessly omitted information material to the


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   The man, Hassan Rammal, may also have provided information about the creation of the photos during his
interview, which could be ascertained upon production of the interview notes and reports, as requested in Point I.


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probable cause determination, the ensuing search of the sumasiempre123@yahoo.com email

account violated Mr. Yousef’s rights under the Fourth Amendment and the fruits of the illegal

search – any email communications and attachments obtained pursuant to the search warrant –

must be suppressed.

                                         CONCLUSION

       For the reasons set forth above, as well as in all the accompanying papers filed previously

and herewith, it is respectfully submitted that the Court should grant Mr. Yousef’s pretrial

motions in their entirety.

Dated: May 3, 2011
       New York, NY

                                                     Respectfully submitted,


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